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CRIMINAL PROCEEDINGS - Change of Plea

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: B. Lynn Winmill               Date: June 19, 2018
Case No. 4:17-cr-188                 Deputy Clerk: Jamie Bracke
Place: Pocatello                     Reporter: Tammy Hohenleitner
Time: 10:08 - 10:35 a.m.

UNITED STATES OF AMERICA vs DILLON KLAIR McCANDLESS

Counsel for United States - Jack Haycock
Counsel for Defendant - Steven Richert

(X) Defendant sworn for examination by the Court.
(X) Court finds the defendant competent to enter plea.
(X) Sentencing guidelines explained.
(X) Defendant's Constitutional Rights explained.
(X) Indictment furnished to defendant.
(X) Maximum Penalty:
       Life imprisonment
       Supervised release for not more than 5 years
       $250,000 fine on each count
       $100 special assessment on each count

(X) Count 2 - mandatory minimum 7 years imprisonment to run consecutive to Count 1.
(X) Defendant informed this sentence may run consecutive to any other state or federal sentence.
(X) Signed Plea Agreement previously filed with the Court.
(X) The Government set forth the elements of the offense.

(X) Defendant withdrew previous plea of NOT GUILTY, and entered a GUILTY plea to Counts 1
and 2 of the Superseding Indictment pursuant to the plea agreement. The Court accepts the plea and
the plea agreement is taken UNDER ADVISEMENT pending review of the presentence report.

Sentencing Set: September 19, 2018 at 11:00 a.m. before Judge B. Lynn Winmill

(X) Court ordered a presentence investigation report.
      Original report to Counsel: August 8, 2018
      Notification of Objections: August 22, 2018
      Final Report to Court and Counsel: September 5, 2018

(X) Defendant subject to forfeiture.
(X) Defendant remanded to the custody of the US Marshal Service.
